        Case 3:25-cr-00069-KC          Document 10       Filed 01/28/25      Page 1 of 3



                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                 EL PASO DIVISION


USA                                            §
                                               §
vs.                                            §   Case Number: EP:25-CR-00069(1)-KC
                                               §   RFC
(1) JOSE ARMANDO VEGA                          §


                 ORDER SETTING D.C. ARRAIGNMENT / DETENTION

           IT IS HEREBY ORDERED that the above entitled and numbered case is set for
D.C. ARRAIGNMENT / DETENTION, in Magistrate Courtroom 612, on the 6th Floor of the
United States Courthouse, 525 Magoffin Avenue, El Paso, TX, on:

                                 January 31, 2025 at 03:00 PM

            Defense Counsel is ORDERED to meet and confer with the Defendant prior to the
time of the hearing. Failure to do so, in the absence of good cause, will result in termination of
the appointment of counsel.

             IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order
to the defendant, counsel for defendant, the United States Attorney, U.S. Pretrial Services, United
States Probation Office, and any surety or custodian, if applicable. Counsel for the defendant
shall notify the defendant of this setting and if the defendant is on bond, advise the defendant to
be present at this proceeding.


In accordance with Federal Rule of Criminal Procedure 5(f), as amended by the Due Process
Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), the Government is hereby
notified of and ordered to comply with (1) the prosecutor's disclosure obligations under Brady v.
Maryland, 373 U.S. 83 (1963), and its progeny, and (2) the possible consequences of violating
this Order, which may include sanctions such as delay of trial or other proceedings, the exclusion
of evidence, the giving of adverse jury instructions, the grant of new trial, the dismissal of an
action, or finding in contempt.



           IT IS SO ORDERED this 28th day of January, 2025.



                                              ______________________________
                                              ROBERT F. CASTANEDA
                                              UNITED STATES MAGISTRATE JUDGE
         Case 3:25-cr-00069-KC           Document 10           Filed 01/28/25     Page 2 of 3


                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                EL PASO DIVISION

USA                                                        §
                                                           §
vs.                                                        §      NO: EP:25-CR-00069(1)-KC RFC
                                                           §
(1) JOSE ARMANDO VEGA                                      §

                              WAIVER OF PRELIMINARY HEARING
                                AND/OR DETENTION HEARING
                                  (Rule 5 or 32.1, Fed.R.Crim.P.)

PRELIMINARY HEARING

        I, (1) JOSE ARMANDO VEGA, charged in a complaint pending in this District, and having
appeared before this Court and been advised of my rights as required by Rule 5 or 32.1, Fed.R.Crim.P.,
including my right to have a preliminary hearing, I have been advised that at a preliminary hearing, the
government will be required to provide evidence to support the charges pending against me. Now,
appearing with the benefit of counsel I, do hereby waive (give up) my right to a preliminary hearing.

       Yo, (1) JOSE ARMANDO VEGA, el inculpado en una acusación pendiente en este Distrito, he
comparecido ante este Tribunal y me han informado de mi derecho a una audiencia preliminar,
cumpliendo con el reglamento 5 o 32.1 de los Reglamentos de Procedimientos Penales Federales, por
este medio renuncio (abandono) a mi derecho a una audiencia preliminar.


Date/Fecha                                            (1) JOSE ARMANDO VEGA,
                                                      Defendant/Acusado
DETENTION HEARING

        I have also been advised of my right to a detention hearing. I have been advised that, at a
detention hearing, the court will hear evidence to determine whether I should be held in jail without bond
or whether a bond should be set for me. I have been advised that, if I waive (give up) my right to a
detention hearing, I will be held in jail without bond while I wait for trial. I have discussed this right
with counsel, and I hereby waive (give up) my right to have a detention hearing.

         También me han informado de mi derecho a una audiencia para fijar fianza, el juez recibirá las
pruebas para poder determinar si seguiré detenido sin fianza o si me fijarán fianza. Me han informado
que si renuncio (abandono) mi derecho a una audiencia para fijar fianza, seguiré detenido sin fianza hasta
que se me someta a jucio. Renuncio (abandono) mi derecho a una audiencia para fijar fianza.


Date/Fecha                                            (1) JOSE ARMANDO VEGA,
                                                      Defendant/Acusado


                                                      534-6525, Federal Public Defender,
                                                      COUNSEL FOR DEFENDANT
           Case 3:25-cr-00069-KC        Document 10       Filed 01/28/25        Page 3 of 3


                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                     EL PASO DIVISION

USA                                                      §
                                                         §        Cause Number: EP:25-CR-00069(1)-KC
vs.                                                      §
                                                         §
(1) JOSE ARMANDO VEGA                                    §


                        WAIVER OF PERSONAL APPEARANCE AT ARRAIGNMENT
                                              AND
                                  ENTRY OF PLEA OF NOT GUILTY

     COMES NOW Defendant in the above-referenced case who, along with his undersigned
attorney, hereby acknowledges the following:

     1) Defendant has received a copy of the indictment or information in this case. Defendant
understands the nature and substance of the charges contained therein, the maximum penalties
applicable thereto, and his/her Constitutional rights, after being advised of all the above by
his/her attorney.

     2) Defendant understands he/she has the right to appear personally with his/her attorney
before a Judge for arraignment in open Court on this accusation. Defendant further understands
that, absent the present waiver, he/she will be so arraigned in open Court.

     Defandant, having conferred with his/her attorney in this regard, hereby waives personal
appearance with his/her attorney at the arraignment of this case and the reading of the indictment
or information, and by this instrument, tenders his/her plea of "not guilty." The defendant
understands that entry by the Court of said plea for defendant will conclude the arraignment in
this case for all purposes.
I UNDERSTAND, UNLESS OTHERWISE ORDERED BY THE COURT, I MUST FILE ANY
PRETRIAL MOTION (CITING LEGAL AUTHORITY UPON WHICH I RELY AND A PROPOSED
ORDER) WITHIN 14 DAYS AFTER ARRAIGNMENT, OR, IF I HAVE WAIVED ARRAIGNMENT,
WITHIN 14 DAYS AFTER THE LATEST SCHEDULED ARRAIGNMENT DATE.      SEE LOCAL
CRIMINAL RULES CR-12 AND CR-47.

Date:
                                                        Signature of Attorney




Defendant's Signature                                   Name of Attorney


                                              ORDER

             APPROVED by the Court. A plea of "NOT GUILTY" is entered for the defendant.

Date                                                    ROBERT F. CASTANEDA
                                                        UNITED STATES MAGISTRATE JUDGE
